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                                                     3(5621




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                                   II. PLAINTIFF INFORMATION

If you checked “To me” in Box 1, YOU are the Plaintiff. Complete this section with information about YOU.

If you checked “Someone else” in Box 1, THAT PERSON is the Plaintiff. Complete this section with
information about THAT PERSON.

  2. First name:              3. Middle name:               4. Last name:                   5. Suffix:
 David                       Michael                        Gregory
  6. Sex:                                                   7. Is the Plaintiff deceased?
  ‫܆‬Male                                                     ‫܆‬Yes
  ‫܆‬Female                                                   ‫܆‬No
  ‫܆‬Other
                                                            If you checked “To me” in Box 1, check “No” here.
  Skip (8) and (9) if you checked “Yes” in Box 7.
  8. Residence city:                                        9. Residence state:
 Denton                                                     Texas
  Skip (10), (11), and (12) if you checked “No” in Box 7.
  10. Date of Plaintiff’s     11. Plaintiff’s residence     12. Was the Plaintiff’s death caused by an injury
  death:                      state at the time of their    that resulted from their exposure to contaminated
                              death:                        water at Camp Lejeune?
                                                            ‫܆‬Yes
                                                            ‫܆‬No


                                   III. EXPOSURE INFORMATION

If you checked “To me” in Box 1, complete this section with information about YOU.

If you checked “Someone else” in Box 1, complete this section with information about THAT PERSON.

  13. Plaintiff’s first month of exposure to the water      14. Plaintiff’s last month of exposure to the water at
  at Camp Lejeune:                                          Camp Lejeune:
 September 1971                                             March 1974
  15. Estimated total months of exposure:                   16. Plaintiff’s status at the time(s) of exposure
 31                                                         (please check all that apply):
                                                            ‫܆‬Member of the Armed Services
                                                            ‫܆‬Civilian (includes in utero exposure)
  17. If you checked Civilian in Box 16, check all that     18. Did Plaintiff at any time live or work in any of
  describe the Plaintiff at the time(s) of exposure:        the following areas? Check all that apply.
  ‫܆‬Civilian Military Dependent                              ‫܆‬Berkeley Manor
  ‫܆‬Civilian Employee of Private Company                     ‫܆‬Hadnot Point
  ‫܆‬Civil Service Employee                                   ‫܆‬Hospital Point
  ‫܆‬In Utero/Not Yet Born                                    ‫܆‬Knox Trailer Park
  ‫܆‬Other                                                    ‫܆‬Mainside Barracks
                                                            ‫܆‬Midway Park
                                                            ‫܆‬Paradise Point
                                                            ‫܆‬Tarawa Terrace
                                                            ‫܆‬None of the above
                                                            ‫܆‬Unknown

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                                      ,9 ,1-85<,1)250$7,21

If you checked “To me” in Box 1, complete this section with information about YOU.

If you checked “Someone else” in Box 1, complete this section with information about THAT PERSON.

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&DPS/HMHXQH

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  ‫܆‬$/6 /RX*HKULJ¶V'LVHDVH
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  ‫܆‬%LOHGXFWFDQFHU
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  ‫܆‬%UDLQFHQWUDOQHUYRXVV\VWHPFDQFHU
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  ‫&܆‬DUGLDFELUWKGHIHFWV 3ODLQWLIIZDV%251:,7+WKHGHIHFWV
  ‫&܆‬HUYLFDOFDQFHU
  ‫&܆‬RORUHFWDOFDQFHU
  ‫(܆‬VRSKDJHDOFDQFHU
  ‫*܆‬DOOEODGGHUFDQFHU
  ‫܆‬+HSDWLFVWHDWRVLV )DWW\/LYHU'LVHDVH
  ‫܆‬+\SHUVHQVLWLYLW\VNLQGLVRUGHU
  ‫܆‬,QIHUWLOLW\
  ‫܆‬,QWHVWLQDOFDQFHU
  ‫܆‬.LGQH\FDQFHU
  ‫܆‬1RQFDQFHUNLGQH\GLVHDVH
  ‫܆‬/HXNHPLD                                                                              September 14, 2010
  ‫܆‬/LYHUFDQFHU
  ‫܆‬/XQJFDQFHU
  ‫܆‬0XWOLSOHP\HORPD
  ‫܆‬1HXUREHKDYLRUDOHIIHFWV
  ‫܆‬1RQFDUGLDFELUWKGHIHFWV 3ODLQWLIIZDV%251:,7+WKHGHIHFWV
  ‫܆‬1RQHodgkin’s/\PSKRPD
  ‫܆‬2YDULDQFDQFHU
  ‫܆‬3DQFUHDWLFFDQFHU
  ‫܆‬Parkinson’sGLVHDVH                                                                     August 20, 2019
  ‫܆‬3URVWDWHFDQFHU
  ‫܆‬6LQXVFDQFHU
  ‫܆‬6RIWWLVVXHFDQFHU
  ‫܆‬6\VWHPLFVFOHURVLVVFOHURGHUPD
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If you checked “To me” in Box 1, 6.,37+,66(&7,21 and proceed to section VI. (“Exhaustion”).

If you checked “Someone else” in Box 1, complete this section with information about YOU.

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  ‫܆‬7KH\DUHZHUHP\ SDUHQW
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  28. Did the Plaintiff’s death or injury cause the Plaintiff’s spouse, children, or parents PHQWDODQJXLVKORVV
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  LQWHQGWRVHHNUHFRYHU\"
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  ‫܆‬1R


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                                           VI. EXHAUSTION

 29. On what date was the administrative claim for      30. What is the DON Claim Number for the
 this Plaintiff filed with the Department of the Navy   administrative claim?
 (DON)?

 mm/dd/yyyy 03/17/2023
                                                        ‫܆‬DON has not yet assigned a Claim Number




                                      VII. CLAIM FOR RELIEF

       Plaintiff respectfully requests that pursuant to subsection 804(b) of the CLJA the Court

enter judgment against the Defendant and award damages and all other appropriate relief for the

harm to Plaintiff that was caused by exposure to the water at Camp Lejeune.



                                    VIII. JURY TRIAL DEMAND

       Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure and subsection 804(d) of the CLJA.




Dated: 1RYHPEHUUG


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